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< Generative-Al: The Top 12 Lawsuits | Thomas James
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“ Reviews Phone: (3: “Jeffrey Battle” that | found in my search results.
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EXPLORE FURTHER Let me provide some information on each:
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2 CQ J {5 The current legal cases against generative Al are just the techcrunch.com 1. Battle v. Microsoft Corporation:
& @ Generative Al Legal Use Cases & Examples in 2024 - AlMultiple research.aimultiple. com
—— gy Five Key Legal issues to Consider When It Comes to asaecenter.org © This case, filed in the District Court of
[J Legal Doomsday For Generative Al ChatGPT If Caught forbes.com Maryland, involves Jeffrey Battle and
@ First Lawsuits Arrive Addressing Generative Al | Perkins Coie perkinscoie.com Battle Enterprises, LLC as plaintiffs, and
Microsoft Corporation as the defendant.
© The nature of the suit is related to
CourtListener
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Battle v. Microsoft Corporation, 1:23-cv-01822 - CourtListener © The complaint was filed on July 7, 2023,

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Microsoft wins dismissal of gamers’ suit over $69 billion reuters.com

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3. Jeffery Battle and Battle Enterprises, LLC:

© There's also mention of Jeffery Battle
being sentenced to eighteen years in
prison after pleading guilty to seditious
conspiracy and levying war against the
United States.

© Two years were added to his sentence for

refusing to testify before a grand jury 2 .

4. Liability for Al Output:

° Ina different context, there’s discussion
about liability related to Al-generated
content. For example, if someone
searches for “Jeffery Battle” and an Al
system provides information that turns
out to be false, there could be legal
implications ¢ .

Please note that the details provided here are
based on publicly available information, and |
recommend consulting official legal sources or

seeking legal advice for accurate and up-to-date
